     Case 2:24-cv-13456-BRM-CI ECF No. 7, PageID.15 Filed 01/02/25 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

Daniel McGough, as “Next Friend”
of Brooklyn Ostrander,

               Plaintiff,
                                                    Case No. 24-cv-13456
v.                                                  Honorable Brandy R. McMillion

Jerry L. Clayton,

                Defendant.
                                           /

                       ORDER OF SUMMARY DISMISSAL

        Petitioner Daniel McGough, as “Next Friend” of Brooklyn Ostrander

(“Ostrander”), filed a Petition for a Writ of Habeas Corpus pursuant to 28 U.S.C. §

2241 on December 23, 2024. ECF No. 1. McGough alleged that Ostrander was

being unlawfully detained in the Washtenaw County Jail in violation of her

constitutional rights. Given her detention status, he filed this petition as “Next

Friend” seeking her immediate release pending this Court’s review of the habeas

petition. See ECF No. 3 (Emergency Motion for Immediate Release pending Habeas

Corpus Review).

        The Court has been advised that Ostrander was released from custody and no

formal charges were filed. As a result, the petition for a writ of habeas corpus is now
    Case 2:24-cv-13456-BRM-CI ECF No. 7, PageID.16 Filed 01/02/25 Page 2 of 2




moot. If McGough or Ostrander wishes to pursue any further remedies, including

any alleged civil rights violations 1, they are instructed to file a new action with the

Court.

         Accordingly, the Petition for Writ of Habeas Corpus (ECF No. 1) is

SUMMARILY DISMISSED; and the Emergency Motion for Immediate Release

Pending Habeas Corpus Review (ECF No. 3) is DENIED AS MOOT.

         This is a final order that closes the case.

         IT IS SO ORDERED.

Dated: January 2, 2025                                         s/Brandy R. McMillion
                                                               Hon. Brandy R. McMillion
                                                               United States District Judge




1
 Any civil rights claims must be raised in a properly-filed civil rights action, not a habeas petition.
Courts do not allow hybrid civil rights/habeas actions because the requirements for proceeding in
a civil rights action in federal court differ from those in a habeas action, including the proper
defendants, the filing fees, the applicable statutes of limitation, and other procedural prerequisites.
See, e.g., Robinson v. Crawford, No. 2:22-CV-10752, 2022 WL 17340469, *3 (E.D. Mich. Nov.
30, 2022) (citing cases); accord Sifuentes v. Prelesnik, No. 1:24-CV-1044, 2024 WL 4511425, *2
(W.D. Mich. Oct. 17, 2024) (same).
